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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SELVIN ARGUETA CAAL and SELVIN                    )
 ALDAIR ARGUETA NAJERA,                            )
                                                   )
                                Plaintiffs,        )
                                                        No. 23 C 598
                                                   )
                        v.                         )
                                                        Judge Rowland
                                                   )
 THE UNITED STATES OF AMERICA,                     )
                                                   )
                                Defendant.         )

                JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

       Plaintiff Selvin Argueta Caal and Selvin Aldair Argueta Najera, by their attorney A. Nicole

Hallett, and the United States of America, by its attorney Morris Pasqual, Acting United States

Attorney for the Northern District of Illinois, jointly move for entry of a protective order pursuant

to Rule 26(c) of the Federal Rules of Civil Procedure to govern the disclosure, use, and handling

by the parties of confidential information in this action and in support state as follows:

       1.      As fully set forth in the attached proposed protective order, disclosure and

discovery in this action will likely involve the production of confidential, personal, and private

information pertaining to plaintiffs and witnesses, including, but not limited to, personally

identifiable information, health information, immigration-related information, and other

information protected by the Privacy Act of 1974, 5 U.S.C. § 552a.

       2.      Disclosure and discovery in this action will also likely involve confidential

information about Defendant’s law enforcement or national security staffing, resources, and/or

methods—the release of which to the public may adversely impact identifiable law enforcement

or national security interests—as well as other information in defendant’s possession that is

protected or restricted from disclosure by a number of statutes and regulations, as detailed in the

proposed protective order. See Section A(2) of the proposed protective order.

       3.      The parties therefore agree that good cause exists for such information to be

protected from unnecessary disclosure.
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       4.     The proposed protective order addresses the requirements of Local Rules 5.8 and

26.2, which state that parties are not automatically permitted to file documents under seal. See

Section B(8) of the proposed protective order.

       WHEREFORE, the parties request that the court issue the parties’ proposed protective

order accompanying this joint motion.

                                            Respectfully submitted,

                                            MORRIS PASQUAL
                                            Acting United States Attorney

                                            By: s/ Alex Hartzler
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SELVIN ARGUETA CAAL and SELVIN                   )
 ALDAIR ARGUETA NAJERA,                           )
                                                  )
                                Plaintiffs,       )
                                                       No. 23 C 598
                                                  )
                       v.                         )
                                                       Judge Rowland
                                                  )
 THE UNITED STATES OF AMERICA,                    )
                                                  )
                                Defendant.        )

                         STIPULATED PROTECTIVE ORDER
                      REGARDING CONFIDENTIAL INFORMATION

        1.     With the agreement of the parties, the Court having determined that there is good

cause for issuance of a protective order pursuant to Rule 26(c) of the Federal Rules of Civil

Procedure to govern the disclosure, use, and handling by the parties and their respective agents,

successors, personal representatives and assignees of certain information and items produced and

received in discovery this action, IT IS HEREBY ORDERED as follows:

A.      Definitions

        1.     “Action” shall mean the case captioned Caal, et al. v. United States, 23 C 598.

        2.     “Confidential Information” shall mean information that, at the time of its

production in discovery in the Action, or thereafter, is designated confidential by the Producing

Party because of a good faith belief that the information is:

               a.      a trade secret or other confidential research, development, or commercial

                       information as such terms are used in Federal Rule of Civil Procedure

                       26(c)(1)(G);

               b.      personal financial, medical or other private information relating to an

                       individual that would properly be redacted from any public court filing

                       pursuant to Federal Rule of Civil Procedure 5.2., including any document,

                       information, or tangible thing protected by the provisions of the Family and
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               Educational Rights and Privacy Act, 20 U.S.C. § 1232g, 34 C.F.R. Part 99;

               certain individually identifiable health information (defined as health

               information that is connected to a patient’s name, address, Social Security

               number, or other identifying number, including Health Insurance Claim

               (HIC) number) that may be subject to the provisions of the Privacy Act, 5

               U.S.C. § 552a; the provisions of 45 C.F.R. §§ 164.102-164.534 (regulations

               promulgated       pursuant   to   the   Health   Insurance   Portability   and

               Accountability Act (HIPAA)); or health information for which there may

               be no waiver by the patient to produce the records to an entity outside one

               of the Parties;

         c.    information protected by the provisions of the Privacy Act of 1974, 5 U.S.C

               § 552a;

         d.    information contained in individual detainee files (e.g., “A Files”) that

               would be protected by the Privacy Act or any other information or

               documents that would be covered by the Privacy Act if the subject of the

               information had been a U.S. citizen or a person lawfully admitted for

               permanent residence;

         e.    plaintiffs’ administrative claims (Standard Form 95 or “SF-95”) and

               attachments to those claims;

         f.    sensitive information about Defendant’s law enforcement or national

               security staffing, resources, intelligence and/or methods (including the

               names and contact information of third parties, and non-supervisory federal

               and non-federal employees), the release of which to the public may

               adversely impact identifiable law enforcement or national security interests;

         g.    information pertaining to applications for asylum or withholding of

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                     removal, protection under the Convention against Torture, or claims of

                     credible or reasonable fear, which are subject to disclosure conditions under

                     8 C.F.R. §§ 208.6, 1003.27(c) and 1208.6(a), as well as information

                     pertaining to: (1) applications for Temporary Protected Status under 8

                     U.S.C. § 1254a; and (2) information that relates to an alien who is the

                     beneficiary of an application for relief under 8 U.S.C. §§ 1101(a)(15)(T),

                     (15)(U), (51) or 1229b(b)(2); and

              h.     any other information that is protected or restricted from disclosure by Court

                     order, statutes, or regulations, including, but not limited to: 8 U.S.C. §§

                     1160(b)(5); 1186a(c)(4), 1202(f), 1254a(c)(6), 1255a(c)(4), (5); 1304(b),

                     and 1367(a)(2), (b), (c), (d); 22 U.S.C. § 7105(c)(1)(C); 8 C.F.R. §§ 208.6,

                     210.2(e), 214.11(e), 214.14(e), 216.5(e)(3)(viii), 236.6, 244.16, 245a.2(t),

                     245a.3(n), 245a.21, 1003.27(b)-(d), 1003.46, 1208.6, 28 C.F.R. § 0.29f,

                     which otherwise could subject either party to civil or criminal penalties or

                     other sanctions in the event of unauthorized disclosure.

              i.     To the extent that discoverable information about any Plaintiff is covered

                     by the disclosure of information provisions of 8 U.S.C. §1367(a)(2), the

                     Defendant is ordered to release it to the Plaintiffs, their attorney(s) and

                     related personnel assisting in their case, and any Court involved in this or

                     related proceedings and its personnel as confidential information, despite

                     the limits on disclosure contained in that provision.

       3.     “Disclose” (or forms thereof) shall mean to distribute, provide, or otherwise make

available for access, viewing, or copying. “Disclose” shall include the actual covered document

or item as well as the contents or information contained therein, such that disclosing a copy,

summary, paraphrasing, or characterization would be considered a disclosure of the document

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itself for purposes of this Protective Order.

          4.     “Document” shall mean all items listed in Fed. R. Civ. P. 34(a)(1)(A) & (B).

          5.     “Challenging Party” shall mean any party who challenges the designation of

information as Confidential Information under this Protective Order.

          6.     “Designating Party” shall mean the party or other person producing in discovery in

the Action any information that the Producing Party seeks to designate and to have treated as

Confidential Information pursuant to this Protective Order.

          7.     “Producing Party” shall mean the person or party producing in discovery in the

Action.

          8.     “Receiving Party” shall mean any party who receives information that has been

designated as Confidential Information.

B.        Purpose, Scope, and Limitations of Protective Order

          1.     This Protective Order applies to discovery, pre-trial, trial, and post-trial

proceedings in this action, whether the Documents are produced by a party or a person or entity

who is not a party to this action (a “non-party”). This Order binds the parties and their respective

agents, successors, personal representatives, and assignees.

          2.     This Protective Order shall not prejudice in any way any party’s ability to challenge

the use or disclosure of information other than information designated as Confidential Information

under this Protective Order in this Action. A party’s compliance with the terms of this Protective

Order shall not operate as an admission that any particular material is or is not (a) confidential, (b)

privileged, or (c) admissible in evidence at trial.

          3.     The protections conferred by this Protective Order do not cover any information

that (i) is properly in the public domain; (ii) becomes part of the public domain after its disclosure

to a Receiving Party as a result of publication not involving a violation of this Protective Order,

including becoming part of the public record in this Action through trial or otherwise; (iii) is known

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to or is in the possession of the Receiving Party prior to the disclosure in this Action or obtained

by the Receiving Party after the disclosure in this Action from a source who obtained the

information lawfully and under no obligation of confidentiality to the Producing Party.

         4.     If the Confidential Information contains highly sensitive information, then the

Parties may stipulate or the Producing Party may move for the establishment of an additional

category of protection (e.g., Attorneys’ Eyes Only) that prohibits disclosure of such information

in that category, or that limits disclosure only to specifically designated counsel, Party

representative(s) whose assistance is reasonably necessary to the conduct of these cases, and who

agree to be bound by the terms of the Order provided herein or as revised with respect to such

information.

         5.     The Court finds that this Order is a “qualified protective order” within the meaning

of 45 C.F.R. § 164.512(e)(1)(v).        All patient identifiable information shall be designated

“confidential” using the process in Section C of this Protective Order and may be used or disclosed

in accordance with the terms of this Protective Order and 45 C.F.R. § 164.512(e)(1)(v).

         6.     This Protective Order does not govern the use by the parties of Confidential

Information in open court at any hearing or trial, but the parties reserve the right to seek relief from

the Court in connection with the intended use of Confidential Information in any such hearing or

trial.

         7.     This Protective Order governs the disclosure, use, and handling of all Confidential

Information, regardless of the format or medium in which such Confidential Information is

generated, stored, or maintained.

         8.     Any Confidential Information referenced in any pleading or contained in any

Document filed with the Court in this Action by the Producing Party shall at the time of filing

cease to be Confidential Information unless the Producing Party files the un-redacted pleading or

Document under seal per the procedural requirements of LR 5.8 and 26.2.

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        9.     Nothing in this Protective Order shall restrict the right of any Producing Party to

use its own Confidential Information for any purpose whatsoever, but if any such use results in a

disclosure that causes the Confidential Information to lose its designation as Confidential

Information, then it shall no longer be subject to any protection under this Protective Order.

        10.    This Protective Order applies to only disclosures, uses, and handling of

Confidential Information occurring after the entry of this Protective Order.

        11.    Neither the termination of this Action nor the termination of employment of any

person who has had access to any Confidential Information shall relieve such person of his or her

obligations under this Protective Order, which shall survive.

        12.    Any party may at any time seek modification of this Order by agreement or, failing

agreement, by motion to the Court.

C.      Method for Designating Confidential Information

        1.     Designations of Confidential Information shall be made by the Producing Party,

prior to or at the time of production, except as otherwise provided by this Protective Order.

        2.     The designation of Confidential Information should be limited to only those

Documents or portions of Documents that qualify under the appropriate standards or under the

definition of Confidential Information in Section A(2) of this Protective Order.

        3.     Documents produced in discovery in this Action containing confidential

information shall be designated as containing “Confidential Information.”          For Documents

produced in paper or an electronic form that allows endorsements or similar designation on the

image, the designation shall appear by the inclusion of the marking of CONFIDENTIAL –

SUBJECT TO PROTECTIVE ORDER. For electronic information that is provided in native form

or a format that is not amenable to visible endorsement on the image, the file name(s) shall begin

with CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER. The media on which the

Confidential Information is provided (e.g., CD, DVD, external hard drive) also must be and remain

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plainly labeled with CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER unless and until

the protection of the data within the media is removed. Any copying or transferring of electronic

files that are designated as Confidential Information must be done in a manner that maintains the

protection for all copies, including, but not limited to, maintaining the protection in the filename(s)

and the location where the copies are stored and the location where the users access the

information.      Only those Documents or portions of Documents designated as Confidential

Information shall be subject to this Protective Order.

        4.        A Receiving Party may request the Designating Party to identify whether a

Document labeled “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” is confidential

in total or only in part. Within five (5) business days of the request, the Receiving Party and the

Designating Party shall confer in good faith to resolve any Receiving Party’s request for such

identification.    The parties shall memorialize in writing any identification of Confidential

Information that results from the meet and confer. If the parties cannot resolve the request to the

Receiving Party’s satisfaction during their conference, the Receiving Party may challenge the

designation in accordance with Section D of this Order.

        5.        For interrogatory answers and responses to requests for admissions, designation of

Confidential Information shall be made by placing within each interrogatory answer or response

to requests for admission asserted to contain Confidential Information the following:

CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER. Only those interrogatory answers or

responses or portions of interrogatory answers or responses designated as Confidential Information

shall be subject to this Protective Order.

        6.        For depositions, designation of Confidential Information shall be made during the

deposition on the record that should include reasons for the assertion, or by letter from counsel

within 30 days of receipt of the official deposition transcript or copy thereof (or written notification

that the transcript is available), listing the specific pages and lines of the transcript and any exhibits

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that should be treated as Confidential Information. The entire deposition transcript (including any

exhibits not previously produced in discovery in this Action) shall be treated as Confidential

Information under this Protective Order until the expiration of the above-referenced 30-day period

for designation, except that the deponent (and his or her counsel, if any) may review the transcript

of his or her own deposition during the 30-day period subject to this Protective Order and the

requirement of executing the certification attached as Exhibit A. After designation of Confidential

Information is made, the following shall be placed on the front of the original and each copy of a

deposition transcript containing Confidential Information: CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER. If the deposition was filmed, both the recording storage medium (i.e.

CD or DVD) and its container shall be labeled CONFIDENTIAL – SUBJECT TO PROTECTIVE

ORDER.      The deposition transcript shall also be accompanied by a cover letter from the

Designating Party identifying the specific pages and lines of the transcript and any exhibits (or

portions of exhibits) designated as Confidential Information. Only those pages and lines and

exhibits (or portions of exhibits) designated as Confidential Information, and their corresponding

portions of video, if any, shall be subject to this Protective Order.

       7.      For any other Document or item produced in discovery in this Action not falling

within Sections C(3), C(5) or C(6) above, designation of Confidential Information shall be made

by labeling the item or the item’s container with CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER. If only a portion or portions of the information contained in the item

warrant protection as Confidential Information, it shall be accompanied by a cover letter

identifying the specific portion or portions so designated. Only the item or portions of the item

designated as Confidential Information shall be subject to this Protective Order.

       8.      If it comes to a Producing Party’s attention that information designated as

Confidential Information does not qualify or no longer qualifies for protection, the Producing Party



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must promptly notify all Parties that it is withdrawing the designation for the applicable

information.

D.         Challenging Confidential Information Designations

      1.          Prior to thirty (30) days before the final pre-trial conference, any party may object

to a designation of materials as Confidential Information. The party objecting to confidentiality

must notify, in writing, Counsel for the producing party of the objected-to materials and the

grounds for the objection. If the dispute is not resolved consensually between the parties within

fourteen (14) days of receipt of such a notice of objections, the Challenging Party may move the

Court for a ruling on the objection. In the event any party files a motion challenging the

designation or redaction of information, the document shall be submitted to the Court, under seal,

for an in-camera inspection. The materials at issue must be treated as Confidential Information,

as designated by the producing party, until the Court has ruled on the objection or the matter has

been otherwise resolved.

E.         Disclosure, Use, and Handling of Confidential Information

           1.     Counsel of record are responsible for employing reasonable measures, consistent

with this Protective Order, to control access to and to secure distribution of Confidential

Information.

           2.     Confidential Information shall be disclosed, summarized, described, characterized,

or otherwise communicated or made available, in whole or in part, to only the following persons

and only as reasonably necessary for this Action:

                  a.     Counsel (including outside counsel) for the parties, including associated

                         personnel necessary to assist counsel in this Action, such as litigation

                         assistants, paralegals, interpreters, and litigation support, information

                         technology, information or records management, investigative, secretarial,

                         or clerical personnel;

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               b.     Any person with prior authorized access to the Confidential Information;

               c.     Witnesses, potential witnesses, and deponents, including their counsel;

               d.     Court reporters and other persons not employed by this Court, retained to

                      record or to transcribe testimony or argument at interviews or depositions

                      in connection with this Action;

               e.     Photocopying, data processing, and other support services that are

                      reasonably necessary to litigation in this Action;

               f.     Retained expert witnesses and consultants;

               g.     Mediators or arbitrators;

               h.     Any person indicated on the face of the document to be its author or co-

                      author, or any person identified on the face of the document as one to whom

                      a copy of such document was sent before its production in this Action;

               i.     Other persons only upon consent of the Producing Party and on such

                      conditions as the Parties may agree; and

               j.     This Court (including any judicial officer to whom this Court may refer this

                      matter for settlement purposes) and Court personnel, including persons

                      recording or transcribing testimony or argument at a conference, hearing,

                      trial, or appeal in this Action.

         3.    Disclosure to the persons referenced in subsections (E)(2)(c), (f), and (i) above may

only occur after the person to whom the disclosure is being made has been given a copy of this

Protective Order and has signed a declaration in the form attached hereto as “Exhibit A.”

         4.    Persons receiving Confidential Information pursuant to the terms of this Protective

Order are prohibited from disclosing it to any person except in conformance with this Protective

Order.



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       5.      Before any materials produced in discovery, answers to interrogatories, responses

to requests for admissions, deposition transcripts, or other documents which are designated as

Confidential Information are filed with the Court for any purpose, the parties must follow the

procedural requirements of LR 5.8 and 26.2. Nothing in this Order shall be construed as

automatically permitting a party to file under seal.   Further, no portion of the trial of the matter

shall be conducted under seal, unless the parties and the Court so agree.

       6.      If the need arises for any Party to disclose Confidential Information in a proceeding

in open Court or at any hearing or trial, it may do so only after giving seven (7) business days’

notice to the Producing Party who, after a good faith effort to meet-and-confer, may seek additional

relief from the Court. If a hearing is scheduled to occur less than seven (7) business days from the

date the hearing is scheduled, the notice contemplated by this Section E(6) shall be accomplished

within twenty-four (24) hours, or as soon as practicable. The notice contemplated by Section E(6)

for purposes of a Party who asserts the need to disclose Confidential Information at trial may be

accomplished by provision of a pre-trial exhibit list and resolution of any objection by the Court

at a Pretrial Conference.

       7.       If any Party is (a) subpoenaed in another action, (b) served with a demand in

another action to which it is a Party, (c) served with any legal process by one not a party to this

action, or (d) otherwise compelled to respond to a request pursuant to existing independent

statutory, law enforcement, national security or regulatory obligations imposed on a party, and

such subpoena, demand, legal process, or request seeks information or material which was

designated as Confidential Information by someone other than that Party, the Party shall give

written notice within ten (10) calendar days of receipt of such subpoena, demand, legal process, or

request to the Designating Party, and prior to compliance with the subpoena, so as to allow the

Designating Party to seek protection from the relevant court(s). Nothing in this Protective Order

shall be construed as requiring the Party or anyone else covered by this Protective Order to

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challenge or appeal any order requiring production of information or material covered by this

Protective Order, or to subject itself to any penalties for noncompliance with any legal process or

order, or to seek any relief from this Court.

        8.      Except as set forth in Section 7, a Receiving Party may use Confidential

Information only in connection with prosecuting, defending, or attempting to settle this Action.

The Confidential Information shall not be used by the Receiving Party for any purpose outside of

this Action.

        9.     No one subject to this Protective Order shall use Confidential Information obtained

in this Action to retaliate against, intimidate, discriminate against, or harass any individual in any

manner.

F.      Inadvertent Production of Confidential Information

        1.     Nothing herein shall be deemed or construed as a waiver of any applicable

privilege, right of privacy, or proprietary interest with respect to any information or item. The

parties agree to follow Fed. R. Civ. P. 26(b)(5)(B) with respect to any inadvertently or

unintentionally produced or disclosed Confidential Information.

        2.     If a Receiving Party learns that, by inadvertence or otherwise, it, or a person to

whom it has disclosed Confidential Information in accordance with this Protective Order, has

disclosed Confidential Information to any person or in any circumstance not authorized under this

Protective Order, the Receiving Party shall, upon learning of the unauthorized disclosure: (a)

promptly notify the person(s) to whom the unauthorized disclosure was made that the unauthorized

disclosure contains Confidential Information subject to this Protective Order; (b) promptly make

all reasonable efforts to obtain the return of the Confidential Information and to prevent further

unauthorized disclosures of the Confidential Information, including requesting the person who

received the unauthorized disclosure to agree to be bound by the terms of this Protective Order by

executing a declaration in the form attached as Exhibit A; and (c) within five calendar days notify

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the Producing Party and all other parties of the identity of the person(s) to whom the unauthorized

disclosure was made, the circumstances surrounding the disclosure, and the steps taken to prevent

any use or further disclosure of the Confidential Information that was the subject of the

unauthorized disclosure.

G.      Disposition of Documents Containing Confidential Information

        1.     Except as provided in this Protective Order, within 90 days of the final termination

of this Action, whether by settlement, judgment, or other disposition or conclusion and all appeals

or opportunities to appeal therefrom, a Receiving Party shall take reasonable steps either (a) to

destroy or to delete all items designated as Confidential Information or (b) to return them to the

Designating Party, depending upon the Designating Party’s stated reasonable preference, except

materials that exist on back-up tapes or similar systems. Materials that exist on back-up tapes,

systems, or similar storage need not be immediately deleted or destroyed, and, instead, such

materials may be overwritten and destroyed in the normal course of business. Until they are

overwritten in the normal course of business, the Receiving Party will take reasonable steps to

limit access, if any, to the persons necessary to conduct routine IT and cybersecurity functions. In

the course of disposing of information in its possession under this paragraph, Receiving Party also

will take reasonable steps to notify persons to whom it distributed Confidential Information

pursuant to this Order that such information should be returned to Receiving Party or destroyed by

the person possessing the information with written confirmation to Receiving Party.

               a.      For material that contains or reflects Confidential Information, but that

                       constitutes or reflects counsel’s work product, or that of retained consultants

                       and experts, counsel of record for the parties shall be entitled to retain such

                       work product in their files in accordance with the provisions of this

                       Protective Order, so long as it is and remains clearly marked to reflect that

                       it contains Confidential Information subject to this Protective Order.

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               b.      Counsel of record for the parties shall also be entitled to retain an archival

                       copy of all pleadings; affidavits; motion papers; trial, deposition, and

                       hearing transcripts; legal memoranda; correspondence; deposition and trial

                       exhibits; expert reports; briefs; other papers filed with the Court; and any

                       other parts of the trial record, even if such material contains Confidential

                       Information, so long as such material is and remains clearly marked to

                       reflect that it contains Confidential Information. Even after the final

                       disposition of this Action, the terms of this Protective Order shall continue

                       to govern the disclosure, use, and handling of any Confidential Information

                       unless and until its Designating Party agrees otherwise in writing or a court

                       order directs.

               c.      In particular, attorneys for the United States may maintain copies of any

                       documents designated Confidential in their case file for this case, and may

                       maintain copies of any notes or summaries containing such Confidential

                       Information in their case file for this case, subject to 44 U.S.C. § 3101, et

                       seq., and 5 U.S.C. § 552, et seq.

H.      Privacy Act.

        1.     The United States is authorized to produce personal identifying information

contained within electronically stored information or hard copy documents. Any electronically

stored information or hard copy documents containing such personal identifying information will

be deemed Confidential Information, regardless of whether the electronically stored information

or hard copy documents are marked with a “CONFIDENTIAL – SUBJECT TO PROTECTIVE

ORDER” legend designating the information as Confidential Information.

        2.     This is an order of a court of competent jurisdiction. 5 U.S.C. § 552a(b)(11).

I.      Applicability to Parties Later Joined.

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     1.         If additional persons or entities become parties to this Action, they must not be

given access to any Confidential Information until they execute and file with the Court their written

agreement to be bound by the provisions of this Order.

                               E N T E R:



                                              United States District Judge

       Dated:




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                                              EXHIBIT A

                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SELVIN ARGUETA CAAL and SELVIN                    )
 ALDAIR ARGUETA NAJERA,                            )
                                                   )
                                Plaintiffs,        )
                                                        No. 23 C 598
                                                   )
                        v.                         )
                                                        Judge Rowland
                                                   )
 THE UNITED STATES OF AMERICA,                     )
                                                   )
                                Defendant.         )

        I hereby declare that I have read and that I understand the Agreed Protective Order entered
in the above-captioned case. I further declare that I will comply with all of the terms and conditions
of this Protective Order, and that I will not disclose any Confidential Information, as that term is
defined in the Protective Order, in a manner that is inconsistent with the Protective Order. I will
maintain any Confidential Information in my possession – including copies, notes, or other
transcriptions made therefrom – in a secure manner to prevent unauthorized access to it. I
understand that any unauthorized disclosure may subject me to a ruling of contempt or other
sanction imposed by the District Court. I hereby consent to be subject to the personal jurisdiction
of the United States District Court for the District of Arizona with respect to any proceedings
relative to the enforcement of that Order, including any proceeding related to contempt of that
Order.


Executed this ___ day of _____________ by __________________________________
                                             (Print Name)

Signed _________________________________________




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